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   18
                            UNITED STATES DISTRICT COURT
   19
                           CENTRAL DISTRICT OF CALIFORNIA
   20
   21

   22    IN RE: NATIONAL FOOTBALL                    CASE NO.: 2:15-ml-02668−PSG
         LEAGUE’S “SUNDAY TICKET”                    (JEMx)
   23    ANTITRUST LITIGATION
   24                                                CLASS ACTION

   25

   26    THIS DOCUMENT RELATES TO                    JOINT STATUS REPORT ON
         ALL ACTIONS                                 SUBSTANTIAL PRODUCTION
   27                                                OF DIRECTV DEFENDANTS’
                                                     USABLE TRANSACTIONAL
   28                                                DATA


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    1           Pursuant to the Court’s April 20, 2021 Order Vacating the April 22, 2021
    2   Deadline for Substantial Production of DIRECTV Defendants’ Usable Transactional
    3   Data and Setting Deadline for Parties to Submit Proposed Revised Deadline or
    4   Otherwise Update the Court, Dkt. 321, Plaintiffs and Defendants DIRECTV, LLC
    5   and DIRECTV Holdings LLC (collectively, “DIRECTV”) state as follows:
    6           1.         On January 12, 2021, the Court adopted the parties’ proposed deadline
    7   for substantial production of usable transactional data. Dkt. 294 (adopting deadlines
    8   proposed in Joint Status Report, Dkt. 283).
    9           2.         On April 20, 2021, the Court adopted Plaintiffs’ and DIRECTV’s
   10   proposed order (1) vacating the Court’s January 12, 2021 order requiring DIRECTV
   11   to produce usable transactional data to Plaintiffs by April 22, 2021, and (2) ordering
   12   Plaintiffs and DIRECTV to submit a proposed revised date or otherwise update the
   13   Court on the status of negotiations by April 30, 2021. Dkt. 321.
   14           3.         Pursuant to the Court’s April 20, 2021 order, Plaintiffs and DIRECTV
   15   have engaged in several good-faith, productive discussions to reach an agreement
   16   regarding DIRECTV’s production. In addition to correspondence between the
   17   parties, Plaintiffs and DIRECTV have conferred telephonically on April 21, 2021,
   18   April 23, 2021, and on April 28, 2021.
   19           4.         To date, the parties have not finalized an agreement regarding the scope
   20   of the data. This is due largely to the Plaintiffs gaining a better understanding of the
   21   manner in which the data is maintained. Nevertheless, the parties intend to continue
   22   their discussions on a regular basis.
   23           5.         DIRECTV and Plaintiffs shall submit a status report on or before May
   24   14, 2021 updating the Court on the status of negotiations or proposing a revised date
   25   for substantial production of usable transactional data.
   26
   27   Dated: April 30, 2021
   28
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   13    Attorneys for Plaintiffs’ Interim Co-Lead
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   15

   16                                 SIGNATURE CERTIFICATION

   17           Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories listed,

   18   and on whose behalf this filing is submitted, concur in the filing’s content and have

   19   authorized this filing.
                                                   By: /s/ Raymond K. Wright
   20                                                  Raymond K. Wright
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